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 1                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 2                                   SAN FRANCISCO DIVISION

 3   In re: CATHODE RAY TUBE (CRT)                             Master File No. 07-5944 SC
     ANTITRUST LITIGATION
 4
                                                               MDL No. 1917
 5   This Document Relates to:
 6   Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
     01173;
 7
     Electrograph Systems, Inc. et al. v. Technicolor SA,
 8   et al., No. 13-cv-05724;                                  DECLARATION OF BRIAN M.
                                                               GILLETT IN SUPPORT OF
 9   Siegel v. Technicolor SA, et al., No. 13-cv-05261;        DIRECT ACTION PLAINTIFFS’
                                                               ADMINISTRATIVE MOTION TO
10   Best Buy Co., Inc. v. Technicolor SA, et al., No. 13-     SEAL PORTIONS OF THEIR
     cv-05264;                                                 RESPONSE IN OPPOSITION TO
11                                                             MITSUBISHI ELECTRIC’S
     Interbond Corporation of America v. Technicolor           MOTIONS IN LIMINE NOS. 1–3
12   SA, et al., No. 13-cv-05727;
13   Office Depot, Inc. v. Technicolor SA, et al., No. 13-
     cv-05726;                                                 The Honorable Samuel Conti
14
     Costco Wholesale Corporation v. Technicolor SA, et
15   al., No. 13-cv-05723;
16   P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725
17
     Schultze Agency Services, LLC, o/b/o Tweeter Opco,
18   LLC, et al. v. Technicolor SA, Ltd., et al., No. 13-cv-
     05668;
19
     Sears, Roebuck and Co. and Kmart Corp. v.
20   Technicolor SA, No. 3:13-cv-05262;
21   Target Corp. v. Technicolor SA, et al., No. 13-cv-
     05686;
22
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
23   13-cv-00157;
24   Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     No. 14-cv-02510.
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                         DECLARATION IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE
                               MOTION TO FILE DOCUMENTS UNDER SEAL
                                        Master File No. 3:07-cv-5944 SC
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 1   I, Brian M. Gillett hereby declare as follows:

 2          1.      I am attorney and counsel for plaintiff Alfred H. Siegel, solely in his capacity as
 3   Trustee of the Circuit City Stores, Inc. Liquidating Trust.
 4
            2.      I submit this declaration in support of Direct Action Plaintiffs’ Administrative Motion
 5
     to Seal Portions of Their Response in Opposition to Mitsubishi Electric’s Motions in Limine Nos. 1–3
 6
     Pursuant to Civil Local Rules 7-11 and 79-5(d).
 7

 8          3.      Portions of Direct Action Plaintiffs’ Opposition contain excerpts from and/or

 9   statements derived from documents and testimony which have been designated “confidential” or
10   “highly confidential” pursuant to the Stipulated Protective Order governing this litigation [D.E. 306,
11
     June 18, 2008] (“Stipulated Protective Order”). The confidential/highly confidential designations
12
     were made by certain defendants in this litigation. To qualify as confidential or highly confidential
13
     under the Stipulated Protective Order, information must contain trade secrets or other confidential
14

15   research, development, or commercial information or private or commercially sensitive information.

16   Stipulated Protective Order ¶ 1.
17          4.      The Stipulated Protective Order requires that a party may not file any confidential
18
     material in the public record. Stipulated Protective Order ¶ 10. The Stipulated Protective Order
19
     further provides that any party seeking to file any confidential material under seal must comply with
20
     Civil Local Rule 79-5. Stipulated Protective Order at ¶¶ 1, 10.
21

22          5.      The highlighted portions of Plaintiffs’ Opposition contain such material. The following

23   exhibits also contain material that certain defendants have designated as confidential or highly
24   confidential and, pursuant to Local Rule 79-5(e), Plaintiffs seek to submit this material under seal in
25
     good faith in order to comply with the Stipulated Protective Order and the applicable Local Rules:
26
     Exhibit A, Exhibit B.
27

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                        DECLARATION IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE
                              MOTION TO FILE DOCUMENTS UNDER SEAL
                                        Master File No. 3:07-cv-5944 SC
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 1          6.      Therefore, Direct Action Plaintiffs respectfully request an order sealing portions of
 2   Direct Action Plaintiffs’ Opposition and the exhibits identified above.
 3
            I declare under penalty of perjury that the foregoing is true and correct.
 4

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     Executed on this 27th day of February, 2015 at Houston, Texas.
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                                                          /s/ Brian M. Gillett
 8                                                        Brian M. Gillett
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                        DECLARATION IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE
                              MOTION TO FILE DOCUMENTS UNDER SEAL
                                      Master File No. 3:07-cv-5944 SC
